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                        Appeal Nos. 2017-1118, -1202


  United States Court of Appeals
                                   for the

                      Federal Circuit
                         ORACLE AMERICA, INC.,

                                                               Plaintiff-Appellant,

                                    – v. –

                               GOOGLE INC.,

                                                       Defendant-Cross-Appellant.


   ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
  NORTHERN DISTRICT OF CALIFORNIA IN CASE NO. 3:10-CV-03561-WHA
                 HONORABLE WILLIAM H. ALSUP


BRIEF FOR AMICUS CURIAE NEW YORK INTELLECTUAL
     PROPERTY LAW ASSOCIATION IN SUPPORT
               OF NEITHER PARTY

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February 17, 2017
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                           CERTIFICATE OF INTEREST

Counsel for amicus curiae The New York Intellectual Property Law Association

certifies the following:


      1.     The full names of every party or amicus represented by me are:

             New York Intellectual Property Law Association.

      2.     The name of the real party in interest (if the party named in the
             caption is not the real party in interest) represented by me is:
             Not applicable.


      3.     All parent corporations and any publicly held companies that own 10
             percent or more of the stock of the party or amicus curiae represented
             by me are:
             Not applicable.


      4.     The following are the names of all the law firms and attorneys
             expected to appear for The New York Intellectual Property Law
             Association in this Court:

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Dated:       February 17, 2017         By:/s/ Daniel J. Brooks
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                          STATEMENT OF INTEREST

      The New York Intellectual Property Law Association (“NYIPLA” or

“Association”) respectfully submits this amicus curiae brief in support of neither

party.1

      The arguments set forth in this brief were approved on February 16, 2017,

by an absolute majority of the officers and members of the Board of Directors of

the NYIPLA, including any officers or directors who did not vote for any reason,

including recusal, but do not necessarily reflect the views of a majority of the

members of the Association, or of the law or corporate firms with which those

members are associated. After reasonable investigation, the NYIPLA believes that

no officer or director or member of the Committee on Amicus Briefs who voted in

favor of filing this brief, nor any attorney associated with any such officer, director

or committee member in any law or corporate firm, represents a party to this

litigation. Some officers, directors, committee members or associated attorneys

may represent entities, including other amici curiae, which have an interest in

other matters that may be affected by the outcome of this litigation.


1
 Pursuant to Federal Rule of Appellate Procedure 29(c)(5), no party or party’s
counsel authored this brief in whole or in part; no party or party’s counsel
contributed money that was intended to fund preparing or submitting this brief; and
no person other than the amicus curiae, its members, or its counsel contributed
money that was intended to fund preparing or submitting this brief. Pursuant to
Federal Rule of Appellate Procedure 29(a), all parties have consented to the filing
of this brief.
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      The NYIPLA is a professional association of over 1,100 attorneys whose

interests and practices lie in the areas of patent, trademark, copyright, trade secret

and other intellectual property law. The Association’s members include a diverse

array of attorneys specializing in copyright law, from in-house counsel for

businesses that own, enforce, and challenge copyrights, to attorneys in private

practice who represent parties, both copyright owners and accused infringers, in

proceedings before the courts and other tribunals that adjudicate copyright claims

or set copyright royalty rates. The NYIPLA’s members participate actively in

copyright litigation and frequently engage in copyright licensing matters,

representing both copyright licensors and licensees.

      The NYIPLA’s members and their respective clients have a strong interest in

insuring that fair use is applied consistently, predictably and in a way that

safeguards the derivative works right that is intrinsic to “the Progress of Science

and useful Arts.” U.S. Const. art. I, § 8, cl. 8. Without taking a position on the

ultimate disposition of this appeal, the Association urges this Court to reject the

district court’s rationale for holding that a reasonable jury could have found

transformative use under the first fair use factor in this case. Specifically, the

district court ruled that a change in “context” alone, namely, from use in desktop

and laptop computers to use in smartphones and tablets, could be considered a

transformative use, altering the original computer source code with new

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expression, meaning or message, and weighing in favor of fair use. This ruling is

inconsistent with governing law on what constitutes a transformative use, and, if

widely adopted, could erode the copyright holder’s exclusive right to create

derivative works.

                           SUMMARY OF ARGUMENT

      This case has been the subject of a prior trip to this Court to address

important issues on the law of Copyright.2 In this round, the Court is being asked

to set parameters for the scope of the fair use defense in copyright law, including

what constitutes a “transformative use” of computer programming code,

specifically, the use by Defendant-Cross-Appellant Google, Inc. (“Google”) of

packages of Java computer source code owned by Plaintiff-Appellant Oracle

America, Inc. (“Oracle”).

      In denying Oracle’s Rule 50 motions, made at the close of Google’s case in

chief and renewed after the trial, the district court ruled, in connection with the first

prong of the first fair use factor (the purpose and character of the use), that the jury

reasonably could have concluded that Google’s use, in the Android mobile

operating system, of Oracle’s packages of Java computer source code, without


2
 In the prior appeal, this Court found, inter alia, that the computer code in
question was copyrightable. See Oracle Am., Inc. v. Google Inc., 750 F.3d 1339,
1381 (Fed. Cir. 2014). The NYIPLA offers no views on that question, and for the
purpose of this brief, assumes that the copyrightability of the relevant computer
code is no longer at issue on this appeal.
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alteration of their content and for the same purpose as in the Java system, was

transformative (Dkt. No. 1988, at 14). This was because, the court found,

Google’s use occurred in a different “context”; viz. in smartphones and tablets

rather than in the desktop or laptop computers for which Java supposedly was

designed. Id. This change in media, the court reasoned, coupled with the addition

of new implementing code and a new mobile smartphone platform, could be

considered to have given “new expression, meaning, or message to the duplicated

code,” sufficient to render the new work transformative. Id.

      The Association takes no position on whether there could conceivably be

some rationale for finding that the use in question could reasonably be considered

transformative, and takes no position on the ultimate question of fair use. The

Association respectfully submits, however, that the district court’s proffered

rationale for finding that Google’s use could reasonably be viewed as

transformative is flawed and contrary to applicable law. Moreover, it blurs the line

between infringing derivative works and transformative fair uses in a way that

could unduly restrict the scope of copyright protection that the Copyright Act

affords to authors.




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                           PROCEDURAL HISTORY

      In 2010, Oracle sued Google in the United States District Court for the

Northern District of California for patent and copyright infringement arising from

Google’s unauthorized use of Oracle’s Java application programming interfaces

(“API packages”) in its Android technology. A jury found no patent infringement,

but found Google liable for copyright infringement, and deadlocked on Google’s

fair use defense to the copyright claims. See Oracle Am., Inc. v. Google Inc., 750

F.3d 1339, 1347 (Fed. Cir. 2014). After the verdict, the district court found that

the replicated API packages were not copyrightable as a matter of law and

dismissed the copyright claims pertaining to those packages. See Oracle Am., Inc.

v. Google Inc., 872 F. Supp. 2d 974 (N.D. Cal. 2012). Oracle appealed the

dismissal of its copyright claims to this Court, which held that the declaring code

and the structure, sequence, and organization (“SSO”) of the Java API packages

were entitled to copyright protection and that the verdict of copyright infringement

should be reinstated. Oracle, 750 F.3d at 1381. The case was remanded for

another jury trial on Google’s fair use defense. Id.

      At the second jury trial, Google prevailed on fair use, in a verdict rendered

on May 26, 2016 (Dkt. Nos. 1982 (Special Verdict Form), 1984 (Minute Entry)).

The verdict did not make any specific findings as to any of the four fair use factors

(Dkt. No. 1982). On May 17, 2016, at the close of Google’s case in chief, Oracle

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had moved for judgment as a matter of law pursuant to Rule 50(a), Fed. R. Civ. P.

(Dkt. No. 1914). After the trial, Oracle moved for judgment as a matter of law

pursuant to Rule 50(b), Fed. R. Civ. P., renewing its prior motion for judgment as a

matter of law pursuant to Rule 50(a) (Dkt. No. 1997). On June 8, 2016, the district

court issued a written order denying Oracle’s Rule 50(a) motion (Dkt. No. 1988).

On September 27, 2016, the district court denied Oracle’s Rule 50(b) motion,

stating, “Oracle’s new Rule 50 motion is denied for the same reasons as its old one

(Dkt. No. 1988).” (Dkt. No. 2070, at 2).

      In denying Oracle’s Rule 50 motions for judgment as a matter of law, the

district court concluded that a reasonable jury could have found in favor of Google

on each of the four fair use factors. With respect to the first fair use factor, which

covers transformativeness as part of the “purpose and character” prong, the court

held that the jury could reasonably have found that Google’s selection of some, but

not all of Oracle’s Java API packages, “with new implementing code adapted to

the constrained operating environment of mobile smartphone devices,” together

with new “methods, classes, and packages written by Google for the mobile

smartphone platform,” constituted “a fresh context giving new expression,

meaning, or message to the duplicated code” because the “copyrighted works were

designed and used for desktop and laptop computers.” (Dkt. No. 1988, at 14). The

court reached this conclusion despite recognizing that Oracle’s code had been

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copied by Google without alteration and for an identical purpose. Id. This appeal

followed.

       This Court has exclusive jurisdiction over all appeals in actions involving

patent claims, 28 U.S.C. § 1295, even where, as here, an appeal raises only non-

patent issues. Because, however, copyright law is not exclusively assigned to the

Federal Circuit, this Court therefore applies copyright law and precedents which

would be applied by the regional circuit; here, the Ninth Circuit. See Oracle, 750

F.3d at 1353.

                                     ARGUMENT

I.  THE DISTRICT COURT’S HOLDING THAT A REASONABLE
JURY COULD HAVE FOUND A SIMPLE CHANGE IN CONTEXT TO BE
TRANSFORMATIVE, IN THE ABSENCE OF ANY ALTERATION OF
THE ORIGINAL WORK OR ANY PURPOSE DISTINCT FROM THE
PURPOSE OF THE ORIGINAL, IS FLAWED AND INCONSISTENT
WITH APPLICABLE LAW

       A.     Background on Transformativeness and Fair Use Analysis

       The goal of incentivizing creativity and innovation by giving copyright

holders exclusive rights to their works has long co-existed with the recognition

that, “[i]n truth, in literature, in science and in art, there are, and can be few, if any,

things, which in an abstract sense, are strictly new and original throughout. Every

book in literature, science and art, borrows, and must necessarily borrow, and use

much which was well known and used before.” Campbell v. Acuff-Rose Music,

Inc., 510 U.S. 569, 575 (1994) (citation omitted). The fair use doctrine, a judge-
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made rule developed to accommodate the tension between protecting creators of

intellectual property and allowing others to express themselves by reference to

copyrighted works (i.e., allowing them to copy those works without permission),

“permits courts to avoid rigid application of the copyright statute when, on

occasion, it would stifle the very creativity which that law is designed to foster.”

Stewart v. Abend, 495 U.S. 207, 236 (1990).

       The common law fair use doctrine was codified in the Copyright Act of

1976, to provide for the consideration of four non-exclusive statutory factors: “(1)

the purpose and character of the use, including whether such use is of a

commercial nature or is for nonprofit educational purposes; (2) the nature of the

copyrighted work; (3) the amount and substantiality of the portion used in relation

to the copyrighted work as a whole; and (4) the effect of the use upon the potential

market for or value of the copyrighted work.” 17 U.S.C. § 107.

       The Supreme Court provided guidance on the “purpose and character” prong

of the first fair use factor in 1994, stating that the

       central purpose of this investigation is to see, in Justice Story’s words,
       whether the new work merely “supersede[s] the objects” of the original
       creation . . . or instead adds something new, with a further purpose or
       different character, altering the first with new expression, meaning, or
       message; it asks, in other words, whether and to what extent the new
       work is “transformative.”

Campbell, 510 U.S. at 579.


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      In introducing the concept of transformativeness in Campbell, the Supreme

Court cited to, and borrowed the reasoning of, an article by then-District Judge

Leval, who, in 1990, wrote that the first fair use factor “raises the question of

justification[,]” which, in turn, depends “primarily on whether, and to what extent,

the challenged use is transformative.” Pierre N. Leval, Toward a Fair Use

Standard, 103 Harv. L. Rev. 1105, 1111 (1990).3

      The Supreme Court emphasized the importance of the transformative use

standard, stating, “Although such transformative use is not absolutely necessary for

a finding of fair use, the goal of copyright, to promote science and the arts, is

generally furthered by the creation of transformative works. Such works thus lie at

the heart of the fair use doctrine’s guarantee of breathing space within the confines

of copyright.” Campbell, 510 U.S. at 579.

      B.   Transformativeness Requires More Than a Change in Context; It
      Requires an Alteration to the Expressive Content or Message, or to the
      Purpose of a Work

      In order to qualify as a transformative use under the Ninth Circuit’s

jurisprudence, a secondary work must either alter the expressive content or



3
 Judge Leval elaborated on transformativeness, stating, “[t]he use must be
productive and must employ the quoted matter in a different manner or for a
different purpose from the original. A quotation of copyrighted material that
merely repackages or republishes the original is unlikely to pass the test; in Justice
Story’s words, it would merely ‘supersede the objects’ of the original.” Leval, 103
Harv. L. Rev. at 1111 (citation omitted).
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message of the original work, or serve a transformative purpose distinct from the

purpose of the original work. Oracle, 750 F.3d at 1374 (citing cases).

             1.    Alteration of the Expressive Content or Message of a Work

      In Seltzer v. Green Day, Inc., 725 F.3d 1170 (9th Cir. 2013), the Court of

Appeals for the Ninth Circuit held that, even where the allegedly infringing work

“makes few physical changes to the original or fails to comment on the original,” it

will typically be found to be transformative “as long as new expressive content or

message is apparent.” Id. at 1177. Conversely, “[i]n the typical ‘non-

transformative’ case, the use is one which makes no alteration to the expressive

content or message of the original work.” Id. (Emphasis in the original).

      One of the cases cited by Seltzer was Monge v. Maya Magazines, Inc., 688

F.3d 1164 (9th Cir. 2012), in which a magazine’s publication of copyrighted

wedding photos in order to expose a couple’s clandestine wedding was held not to

be transformative because the magazine “left the inherent character of the images

unchanged.” Id. at 1176. In holding that the use of the photos was not

transformative, the Monge Court quoted from a Second Circuit decision, Infinity

Broad. Corp. v. Kirkwood, 150 F.3d 104, 108 (2d Cir. 1998), where the

retransmission of radio broadcasts over telephone lines was not transformative

because, despite the different medium, it did not “alter[] the first [work] with new

expression, meaning or message.” Monge, 688 F.3d at 1176 (second alteration in

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original). See also Kelly v. Arriba Soft Corp., 336 F.3d 811, 819 & n.19 (9th Cir.

2002) (“Courts have been reluctant to find fair use when an original work is merely

retransmitted in a different medium”) (citing Infinity and UMG Recordings, Inc. v.

MP3.com, Inc., 92 F. Supp. 2d 349, 351 (S.D.N.Y. 2000), where it was found that

reproduction of audio compact disks, without alteration of the expressive content,

into computer MP3 format did not transform the works); accord: L.A. News Serv.

v. CBS Broad., Inc., 305 F.3d 924, 938 (9th Cir. 2002) (“Merely plucking the most

visually arresting excerpt from . . . nine minutes of footage cannot be said to have

added anything new.”), as amended 313 F.3d 1093 (9th Cir. 2002); A&M Records,

Inc. v. Napster, Inc., 239 F.3d 1004, 1011, 1015 (9th Cir. 2001) (copying an audio

compact disk directly onto a computer’s hard drive by compressing the audio

information on the CD into the MP3 format was not transformative).

      This Court, where it was not applying Ninth Circuit precedents, has similarly

concluded that a transformative use requires either a transformative purpose or

alteration of the expressive content or meaning of the original work. In Gaylord v.

United States, 595 F.3d 1364, 1373-74 (Fed. Cir. 2010), the Court found that a

postage stamp of the Korean War Veterans Memorial had the same purpose as the

Memorial: “to honor veterans of the Korean War,” and that there was no

transformative use where the stamp surrealistically captured the Korean War

Veterans Memorial on a cold morning after a snowstorm, without, however,

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transforming the Memorial’s “character, meaning, or message. Nature’s decision

to snow cannot deprive [plaintiff] of an otherwise valid right to exclude.”

              2.        Change in Purpose of a Work

       As this Court stated on the previous appeal in this case, “Courts have

described new works as ‘transformative’ when ‘the works use copyrighted material

for purposes distinct from the purpose of the original material.’” Oracle, 750 F.3d

at 1374 (quoting Elvis Presley Enters., Inc. v. Passport Video, 349 F.3d 622, 629

(9th Cir. 2003), overruled on other grounds by Flexible Lifeline Sys., Inc. v.

Precision Lift, Inc., 654 F.3d 989, 995 (9th Cir. 2011)). In Elvis Presley, certain

uses of television clips of the singer were transformative because they were “cited

as historical reference points in the life of a remarkable entertainer[,]” which

transformed “the purpose of showing these clips from pure entertainment to telling

part of the story of Elvis.” Id. On the other hand, the use of many of the film clips

lacked any transformative purpose because they seemed to have been “used in

excess of this benign purpose, and instead are simply rebroadcast for entertainment

purposes . . . .” Id.

       The Ninth Circuit examined the issue of purpose more recently in SOFA

Entertainment, Inc. v. Dodger Productions, Inc., 709 F.3d 1273, 1278 (9th Cir.

2013). There, the Court found that the use of a clip of Ed Sullivan’s introduction

of the Four Seasons on his show had a transformative purpose when it was used as

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a biographical anchor for the band’s history, not for its entertainment value, in a

musical about the band (Jersey Boys). By way of contrast, a secondary use which

does not alter the expressive content or message of the original work is not

transformative if it lacks a distinct purpose. See Worldwide Church of God v.

Philadelphia Church of God, Inc., 227 F.3d 1110, 1117 (9th Cir. 2000) (“Although

‘transformative use is not absolutely necessary for a finding of fair use,’ where the

‘use is for the same intrinsic purpose as [the copyright holder’s] . . . such use

seriously weakens a claimed fair use.’”) (internal citations omitted). See also

Seltzer, 725 F.3d at 1177, citing as an example of a non-transformative use a

Second Circuit case, Ringgold v. Black Entm’t Television, Inc., 126 F.3d 70, 79 (2d

Cir. 1997) (“use of a poster as decoration on a TV show not transformative because

it was used for ‘precisely a central purpose for which it was created’ and

defendants had done nothing with the poster to add anything new”) (internal

citation omitted).

             3.      The Limited Role of Context

      Some Ninth Circuit cases describe a transformative purpose as creating a

new or different context. For example, in Mattel Inc. v. Walking Mountain

Productions, 353 F.3d 792, 802-03 (9th Cir. 2003), photographs of the iconic

Barbie doll in nude, apparently dangerous, and sometimes sexualized poses with

large kitchen appliances provided a “different context” in which the assiduously-

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marketed, idealized vision of Barbie as a symbol of American girlhood was clearly

being parodied. This use of an original work for social criticism and parodic

speech is a quintessential example of a transformative purpose. Id. Without that

transformative purpose, however, the mere use of Barbie in a new context would

not have weighed in favor of fair use. See Dr. Seuss Enters., L.P. v. Penguin

Books USA, Inc., 109 F.3d 1394, 1401 (9th Cir. 1997) (use of the characteristic

rhyming style of Dr. Seuss’ The Cat in the Hat and the Cat’s distinctive stove-pipe

hat in the different context of recounting the story of the O.J. Simpson double

murder trial was not parodic or transformative because it did not hold Dr. Seuss’

style up to ridicule).

       Likewise, in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir.

2007), Google’s use of thumbnail versions of copyrighted images was highly

transformative because, while an image may have been created originally to serve

an entertainment, aesthetic, or informative function, Google’s Internet “search

engine transforms the image into a pointer directing a user to a source of

information.” Id. at 1165. This entirely new use of images as “an electronic

reference tool” was transformative; “even making an exact copy of a work may be

transformative so long as the copy serves a different function than the original

work.” Id. The Court further stated, “In other words, a search engine puts images

‘in a different context’ so that they are ‘transformed into a new creation.’” Id.

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(quoting Wall Data Inc. v. L.A. County Sheriff’s Dep’t, 447 F.3d 769, 778 (9th Cir.

2006)).4

      As in Mattel and Wall Data, the change in context in Perfect 10 was not the

determinative factor; rather, reference was made to the change in context precisely

because that change enabled the change in purpose, which was determinative. This

was made clear by the Perfect 10 Court, which summarized: “Here, Google uses

Perfect 10’s images in a new context to serve a different purpose.” Perfect 10, 508

F.3d at 1165 (emphasis supplied). It follows that, in this case, the jury could only

have reasonably found Google’s verbatim use of Oracle’s computer code to be

transformative if it was used for a purpose distinct from the purpose for which it

was used in Oracle’s Java technology. A mere change in “context” from desktop

and laptop computers to smartphones and tablets, while involving new media and

implementing code, would not satisfy the requirement, under Ninth Circuit




4
  The language quoted from Wall Data states, in full, “A use is considered
transformative only where a defendant changes a plaintiff’s copyrighted work or
uses the plaintiff’s copyrighted work in a different context such that the plaintiff’s
work is transformed into a new creation.” 447 F.3d at 778. In that case, however,
the use was not transformative; as the Court noted, “The Sheriff’s Department
created exact copies of [plaintiff’s] software. It then put those copies to the
identical purpose as the original software. Such a use cannot be considered
transformative.” Id.
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precedents, that a use which does not change the expressive content of the original

work is transformative only if it has a transformative purpose.5

             4.   In Denying Oracle’s Rule 50 Motions, the District Court
             Departed from Applicable Precedents on Transformative Use

      To be transformative, a secondary work must either alter the original work

with new expression, meaning or message or serve a transformative purpose

distinct from the purpose of the original work. Oracle, 750 F.3d at 1374. Here, the

district court’s ruling recognized that Google’s Android mobile operating system

did not alter the Oracle computer code that it appropriated and employed that code

for the identical purpose for which it was used in Oracle’s Java technology. While

there was a change in media and the addition of corresponding implementing

technology, “Courts have been reluctant to find fair use when an original work is

merely retransmitted in a different medium.” Kelly, 336 F.3d at 819 & n.19; A&M

Records, 239 F.3d at 1015.


5
  Even a stark change in context, standing alone, does not render a secondary work
transformative. A recent decision of the Second Circuit, which, as seen above,
analyzes transformativeness in the same way as the Ninth Circuit, is illustrative. In
TCA Television Corp. v. McCollum, 839 F.3d 168 (2d Cir. 2016), the Court
rejected a fair use claim even though the copyrighted material (the iconic Abbott
and Costello comedy routine, Who’s on First?) was used in the “sharply different
context” of a Broadway play, a dark comedy about an introverted student in a
religious small town. 839 F.3d at 175, 182. As the Court stated, “The Play may
convey a dark critique of society, but it does not transform Abbott and Costello’s
Routine so that it conveys that message. To the contrary, it appears that the Play
specifically has its characters perform Who’s on First? without alteration [so that it
would be recognizable].” Id. at 181 (emphasis in original).
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       Despite acknowledging that Oracle’s computer code was unaltered and was

used by Google for an identical function and purpose (Dkt. No. 1988, at 14), the

district court nevertheless found that a reasonable jury could have found Google’s

use to be transformative. Id. This ruling departed from applicable law in the Ninth

Circuit.

       The district court seemed to recognize as much in the Pre-Instruction on Fair

Use that it issued on May 5, 2016 (Dkt. No. 1828). As the court proposed to

instruct the jury, “A work is not transformative where the user makes little or no

alteration to the expressive content or message of the original work and uses it in

the same or similar context.” (Dkt. No. 1828, at 3). The district court later

rescinded this proposed instruction sua sponte, replacing it with an incomplete

charge that, “you may not disqualify [Google’s use] from being transformative

merely because the declaring code and SSO were carried over without change.”

(Dkt. No. 1950, at 13). The Association respectfully submits that the district court

had it right the first time.

II. FINDING TRANSFORMATIVE USE BASED SOLELY UPON A
CHANGE OF CONTEXT WHERE THE ORIGINAL WORK HAS NOT
BEEN ALTERED OR USED FOR A TRANSFORMATIVE PURPOSE
IMPERILS THE COPYRIGHT HOLDERS’S EXCLUSIVE RIGHT TO
CREATE DERIVATIVE WORKS

       Fair use, as codified in Section 107 of the Copyright Act, does not employ

the word “transformative.” In contrast to the statutory fair use provision, the

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statutory definition of a derivative work expressly speaks of an original work being

“transformed.” Section 101 of the Copyright Act defines a “derivative work” as “a

work based upon one or more preexisting works, such as a translation, musical

arrangement, dramatization, fictionalization, motion picture version, sound

recording, art reproduction, abridgment, condensation, or any other form in which

a work may be recast, transformed, or adapted.”

      As the lower federal courts began to apply Campbell’s transformative use

standard, the potential tension between the first fair use factor’s emphasis on

transformativeness and the copyright owner’s exclusive right to create or license

others to create transformative derivative works came into focus. See Castle Rock

Entm’t, Inc. v. Carol Publ’g Grp., Inc., 150 F.3d 132, 143 (2d Cir. 1998) (noting

“potential source of confusion in our copyright jurisprudence over the use of the

term ‘transformative’” but asserting that “[a]lthough derivative works that are

subject to the author’s copyright transform an original work into a new mode of

presentation, such works – unlike works of fair use – take expression for purposes

that are not ‘transformative’”).

      Judge Leval, who coined the use of the term “transformative” in fair use

jurisprudence, addressed this interplay between first factor transformativeness and

the right to create derivative works, which, by definition, transform a preexisting

work, in Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir. 2015). Writing for

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the Second Circuit, Judge Leval explained, “The statutory definition suggests that

derivative works generally involve transformations in the nature of changes of

form.” 804 F.3d at 215 (citing 17 U.S.C. § 101) (emphasis in original). Derivative

works “ordinarily are those that re-present the protected aspects of the original

work, i.e., its expressive content, converted into an altered form, such as the

conversion of a novel into a film, the translation of a writing into a different

language . . . or other similar conversions.” Id. at 225 (internal citation omitted).

“By contrast, copying from an original for the purpose of criticism or commentary

on the original or provision of information about it, tends more clearly to satisfy

Campbell’s notion of the ‘transformative’ purpose involved in the analysis of

Factor One.” Id. at 215-16.

      Applying this distinction, if Google engaged in exact copying of the Java

declaring code and SSO of the API packages, without altering their expressive

content or message, and in order to use them in the Android for the identical

purpose they serve in Java, but used them in the different context of smartphones

or tablets instead of desktops or laptops, this would appear to be a change in form,

the hallmark of a derivative work, rather than a fair use, which alters the original

for a transformative purpose. Whether characterized as a change in form, medium,

or context, Judge Leval’s statutory interpretation would appear to indicate that, if

Google used Oracle’s computer code without alteration and for an identical

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purpose, that use was derivative rather than transformative, and therefore required

the permission of the copyright owner.

      To hold otherwise would blur the line between permissible transformative

fair uses and infringing derivative works and could result in the impairment of the

derivative works right.

                                  CONCLUSION

      For the foregoing reasons, the NYIPLA respectfully requests this Court to

clarify the boundaries of the transformative use standard by confirming that a mere

change of context, standing alone, cannot, under the first fair use factor, be deemed

to be transformative.

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                                           Respectfully submitted,
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                   CERTIFICATE OF FILING AND SERVICE

I, Robyn Cocho, hereby certify pursuant to Fed. R. App. P. 25(d) that, on February

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Law Association in Support of Neither Party was filed through the CM/ECF

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